                       EXHIBIT H




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                                                                       FINCH MCCRANIE, LLP
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May 20,2022

VIA EMAIL

Samantha Kilpatrick
skilpatrick@guidepostsolutions.com
samantha@kilpatricklawgroup.com

        Re:     Pastor John'!} Hunt

Dear Ms. Kilpatrick:

        We understand that Pastor Hunt was recendy interviewed twice by you on behalf of Guidepost
Solutions ("Guidepost"), which finn has been retained by the Southern Baptist Convention ("SBC")
and/ or the SBC Executive Committee ("SBC EC") to conduct an internal investigation. We also
understand from publicly available information that Guidepost is preparing to release a report
("Report") in the imminent future regarding its investigation.

          Yesterday, we were advised by Anthony Collura that it is "probable" that Pastor Hunt will be
mentioned in the Report. For that reason, I am writing to caution you as to a significant ethical issue
that requires your immediate attention and remedial action. In sum, Pastor Hunt believed that his
conversations with you were covered by attorney-client privilege because he understood that you were
a lawyer for the SBC and/ or the SBC EC, he was an active employee of the SBC when he talked to
you, he did not understand that his employer's lawyer was not his lawyer too, he was not told he could
have his own lawyer or that he may need one, he was not told that SBC and/ or SBC EC would provide
him with a personal lawyer, he believed he could talk to you frankly to obtain legal advice and counsel,
and you, contrary to your ethical obligations as a lawyer, did not provide him with an Upjohn warning
(i.e., a corporate Miranda warning). As such, his conversations with you are protected by attorney-
client privilege. Pastor Hunt does not waive that privilege and requests that any portions of the Report
that mention or identify him and/ or information you learned from him either be redacted or removed
in full.

        We trust you will recognize the seriousness of the ethical concern addressed here. At the time
you interviewed Pastor Hunt, there is no doubt that you were a lawyer and as such you have ethical
obligations that you cannot avoid. Simply put, ethical rules apply to all lawyers, including you. You
cannot avoid your ethical obligations as a lawyer, and you are obligated to address them now. Please
respond to us immediately to discuss these matters further.

                           *                       *                       *
        In connection with your review, please consider the following, additional information. You
interviewed Pastor Hunt on or about April 26, 2022, and May 12, 2022. During both interviews,
Pastor Hunt was an active employee of the SBC, where he worked for the North American Missions
Board.



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         In these interviews, you did not provide Pastor Hunt with any form of an Upjohn warning
(complete or incomplete) at any point during either of the interviews. That is, you did not advise
Pastor Hunt, among other things: (i) that you represented the SBC and/ or the SBC EC, not Pastor
Hunt; (ii) that you were conducting the investigation in order to gather information and provide legal
advice to the SBC and/ or the SBC EC, not Pastor Hunt; (iii) that the attorney-client privilege belonged
to the SBC and/ or the SBC EC, not Pastor Hunt, and that the SBC and/ or the SBC EC may elect to
waive the privilege and disclose to third parties any information learned from the interview, without
Pastor Hunt's consent; and (iv) that in order to maintain the privilege, the substance of the interview
was and should remain confidential. See Upjohn v. United States, 449 U.S. 383,395 (1981); see also Michael
M. Farhang and DanielL. Weiss, Corporate Miranda Warnings: Defining Your Role and Avoidiug Pitfalls In
Internal Compa'!)' InveJtigations, Litigation, Spring 2010, at 21-22. 1

         North Carolina (where you are barred), Tennessee (where SBC is based), and Georgia (where
Pastor Hunt resides) have ethical rules emphasizing the importance of giving similar warnings. See,
e.g., N.C. Rules ofProfl Conduct 1.18, Cmt. 2 ("In such a situation [i.e., where meeting with a potential
client], to avoid the creation of a duty to the person under this Rule, a lawyer has an affirmative
obligation to warn the person that a communication with the lawyer will not create a client-lawyer
relationship and information conveyed to the lawyer will not be confidential or privileged."); 1.13,
Cmt. 10 ("There are times when the organization's interest may be or become adverse to those of one
or more of its constituents. In such circumstances the lawyer should advise any constituent, whose
interest the lawyer finds adverse to that of the organization of the conflict or potential conflict of
interest, that the lawyer cannot represent such constituent, and that such person may wish to obtain
independent representation. Care must be taken to assure that the individual understands that, when
there is such adversity of interest, the lawyer for the organization cannot provide legal representation
for that constituent individual, and that discussions between the lawyer for the organization and the
individual may not be privileged.").

        The failure to give adequate Upjohn warnings can have serious consequences, both for the
entity conducting the investigation and for the individual attorney involved.




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          In 2009, a working group of the American Bar Association proposed the following Upjohn
warning as a model: "I am a lawyer for or from Corporation A. I represent only Corporation A, and
I do not represent you personally. I am conducting this interview to gather facts in order to provide
legal advice for Corporation A. This interview is part of an investigation to determine the facts and
circumstances of X in order to advise Corporation A how best to proceed. Your communications
with me are protected by the attorney-client privilege. But the attorney-client privilege belongs solely
to Corporation A, not you. That means that Corporation A alone may elect to waive the attorney-
client privilege and reveal our discussion to third parties. Corporation A alone may decide to waive
the privilege and disclose this discussion to such third parties as federal or state agencies, at its sole
discretion, and without notifying you. In order for this discussion to be subject to the privilege, it must
be kept in confidence. In other words, with the exception of your own attorney, you may not disclose
the substance of this interview to any third party, including other employees or anyone outside of the
company. You may discuss the facts of what happened but you may not discuss this discussion. Do
you have any questions?"

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        Con equences of Failing to Give Upjohn Warning for E ntity Conducting Inve tigation:

         Upjohn warnings help ensure both that the investigating entity has an attorney-client
relationship with its investigating counsel and that no such relationship forms between counsel and
the entity's interviewed employees. Where the warnings are given improperly-or not at all-the
entity can lose control of its ability to create and unilaterally waive attorney-client privilege and work-
product protections. In other words, the failure to provide Upjohn warnings can result in the employee
retaining control over the privilege regarding an interview, effectively stripping the entity's right to
waive the privilege and share information with third parties without first obtaining the employee's
consent.

         The Fourth Circuit has referred to an entity's interviews of its employees during an internal
investigation as "a potential legal and ethical mine field," In re Grand Jury Subpoena, 415 F.3d 333, 340
(4th Cir. 2005). There, the Fourth Circuit laid out a typical test: an employee has a valid attorney-
client privilege over the contents of an interview with entity counsel where the employee had a
subjective belief that an attorney-client relationship existed and their subjective belief was reasonable.
Id. at 339.

        Here, Pastor Hunt believed-and did not have reason to disbelieve-that his employer's
lawyer was his lawyer. He was not advised otherwise at any time, he was an active employee of the
SBC, he understood that he could speak with you frankly for purposes of obtaining legal guidance and
counsel, and he was not told that he could have his own lawyer or that he may need one. Based on
those reasonable beliefs, which you did not attempt to correct by giving any sort of Upjohn warning,
Pastor Hunt has the right to assert attorney-client privilege over his conversations with you, and we
hereby advise you of that assertion in this letter. As such, no one is authorized to release a Report (or
any other document) that contains privileged information you learned from Pastor Hunt.

        Consequences of Failin.g ro Give Upjo!JII Warning for L'lwyers and Firms:

          To be sure, Upjohn warnings not only protect an entity's control over the attorney-client
privilege, but rhey also can protect the interviewing attorney and firm from possible ethical violations.
See, e.g., United States v. Nicholas, 606 F. Supp. 2d 1109, 1121 (C.D. Cal.) (referring outside counsel to
the state bar for discipline), rev'd on other grounds sub nom. United States v. &tehle, 583 F.3d 600 (9th
Cir. 2009) (declining to reverse the referral to the state bar). In North Carolina, there are a host of
applicable ethical rules governing attorneys:

            •   N.C. Rules ofProfl Conduct r. 1.13(£) establishes that a lawyer employed or retained
                by a corporation represents the corporation itself. Subsection (f) acknowledges that
                the company's employees and officers might not always understand this principle.
                Therefore, it requires the attorney to "explain the identity of the client when the lawyer
                knows or reasonably should know that the organization's interests are adverse to those
                of the constituents with whom the lawyer is dealing." A comment to the rule further
                acknowledges that the corporation's interests might become adverse to one of its
                constituents. In dealing with that constituent, it is the attorney's job to ensure that
                individual understands that the attorney represents only the company, and any
                communications will not be kept privileged from the company. Id cmt. 10.


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             •   N.C. Rules of Prof'l Conduct r. 4.3 requires attorneys to ensure that an unrepresented
                 person does not misunderstand who the attorney represents.
             •   N.C. Rules of Prof'l Conduct r. 1. 7 says that if an interviewing attorney is found to
                 have created an attorney-client relationship with the interviewee, and the interests of
                 the interviewee become directly adverse to the corporation, then this conflict of
                 interest might require the attorney to withdraw from representing both the corporation
                 and the interviewee.

        Georgia and Tennessee have similar ethical rules. Tennessee goes further and imposes criminal
penalties for improperly breaching attorney-client privilege in certain scenarios. See Tenn. Code Ann.
§ 23-3-107.

                             *                        *                        *
        In light of Guidepost's plans to release its Report imminently, we are writing to alert you to
your fundamental duties as a lawyer-preservation of a client's confidences and privileges and
provision of complete Upjohn warnings to employee witnesses-that are in jeopardy if any portions of
the Report relate to Pastor Johnny Hunt. We trust that you will receive and review this letter with
the seriousness and urgency it deserves.

         In closing, this situation is unique because we are providing you with advance notice of a
serious ethical issue that you can and must stop before it materializes in a forthcoming Report. We
expect you will do so, and we look forward to talking to you immediately about the steps you will take
in that regard. If we do not receive a satisfactory response, then we will consider all available legal
remedies, including but not limited to injunctive relief. See, e.g., In reSearch Warrant Issued June 13, 2019,
942 F.3d 159 (4th Cit. 2019) (reversing district court because it abused its discretion by denying
injunctive relief necessary to protect attorney-client privileged information); Klitzman, Klitzman and
Gallagher v. Krut, 744 F.2d 955 (3rd Cit. 1984) (affirming preliminary injunction to protect attorney-
client privileged information).


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                                                           / s/ W Carl Liet=0 III
                                                           / s/ David H. Bouchard
                                                           For FINCH MCCRANIE, LLP

cc:     Anthony Collura (via email)
        Cindy Steele (via email)




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